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16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA

18                                    SAN FRANCISCO DIVISION

19   ORACLE AMERICA, INC.                                Case No. 3:10-cv-03561-WHA
20
                    Plaintiff,                           Honorable Judge William Alsup
21
            v.                                           GOOGLE’S STATEMENT IN RESPONSE
22                                                       TO THE COURT’S ORDER RE
     GOOGLE INC.                                         SCHEDULE FOR NARROWING ISSUES
23
                                                         FOR TRIAL
                    Defendant.
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     GOOGLE’S STATEMENT IN RESPONSE TO THE COURT’S                            CIVIL ACTION No. CV 10-03561
     ORDER RE SCHEDULE FOR NARROWING ISSUES FOR TRIAL
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 1           Pursuant to the Court’s May 3, 2011 Order re Schedule for Narrowing Issues for Trial
 2   (Dkt. 131) (“Order”), Defendant Google, Inc. (“Google”) responds as follows to the Court’s
 3   questions:
 4   I.      Response to Request for Critique of Court’s Schedule
 5           Google agrees with the Court’s three-step process in its entirety.
 6   II.     If Trial Were Postponed, To What Extent Would The Results Of The Inter Partes
             Reexaminations Possibly Moot Need For Trial
 7
             Postponing the trial until after the completion of the inter partes reexaminations would
 8
     most likely moot the need for a trial. It is very unlikely that the presently asserted patent claims
 9
     will survive the reexamination process. And, even in the unlikely event that claims were to
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     survive the reexamination process in their current form, their scope would likely be diminished
11
     based on the argumentation and evidentiary support entered into the administrative record to gain
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     their allowance, which are key considerations in interpreting claim scope. As a result of claim
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     cancellation or amendment, Oracle will not be entitled to past damages, and ongoing damages
14
     will be limited by the limited remaining terms of most of the patents-in-suit. This may impact
15
     the value of the case to Oracle, which in turn may moot the need for a trial.
16
             The probability of any asserted claims surviving unchanged is quite low, based on the
17
     most recent reexamination statics. Oracle has suggested that “some decisions will favor Oracle
18
     [and] some will favor Google.” However, the most recent U.S. Patent and Trademark Office
19
     (“PTO”) statistics show that claims are cancelled or amended in 88% of inter partes
20
     reexaminations and in 76% of ex parte reexaminations. Cancelled claims cannot be infringed
21
     and amended claims are subject to absolute and equitable intervening rights. 35 U.S.C.
22
     §§ 307(b), 252; Seattle Box Co., Inc. v. Indust. Crating & Packing, Inc., 731 F.2d 818, 830 (Fed.
23
     Cir. 1984). Based on these statistics, the outcome of the reexaminations is not simply an even
24
     coin-toss, as implied by Oracle, but is likely a narrowed claim scope. Unless Oracle includes
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     only its narrowest claims in its final set of three asserted claims, it is highly probable that the
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     claims selected will be cancelled or amended during the reexamination process. The claims
27
     subject to inter partes reexamination are even less likely to emerge unchanged. The statistics
28
     GOOGLE’S STATEMENT IN RESPONSE TO THE COURT’S                                 CIVIL ACTION No. CV 10-03561
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 1   discussed above are available at the U.S. Patent and Trademark Office’s website under
 2   Reexamination Information, which is available at
 3   http://www.uspto.gov/patents/stats/Reexamination_Information.jsp.
 4           The Court is in the process of construing five of the many claim terms at issue in this
 5   case. The claim construction process relies heavily on the administrative record supporting the
 6   claims of the patents-in-suit. Yet, this record has been reopened and is subject to significant
 7   further development. Indeed, one week ago, Oracle asked for an extension of time to respond to
 8   a first office action in the reexamination of the ‘720 patent. Request for Extension of Time
 9   Under 37 C.F.R. § 1.956, In re Inter Parte Reexamination of Nedim Fresko, Control No.
10   95/001,560 (Apr. 29, 2011) (available at http://portal.uspto.gov/external/portal/pair). Such an
11   extension requires a showing of good cause, and Oracle argued that it would need time to
12   prepare and submit evidence, possibly including testimonial evidence from the inventor, along
13   with its arguments in support of the patentability of its claims. Id. at 3. This continuing
14   development of the administrative record is highly material to the issues in this case, and will
15   likely alter the bases for the parties’ arguments, including Oracle’s infringement theories in the
16   present case, which would again moot the need for a trial.
17           Some additional statistics may be helpful to the Court on this point. Currently, the PTO
18   is issuing first rejections on the merits of claims in about three months for inter partes
19   reexaminations and in about six months for ex parte reexaminations. Because these patents are
20   in litigation, Oracle will have limited ability to extend the time to respond to these office actions.
21   As a result, it is highly likely that the administrative record for all of the patents-in-suit will be in
22   flux by this summer, and certainly before trial. In addition, the PTO is currently issuing notices
23   of intent to issue a reexamination certificate in just over 20 months for ex parte reexaminations
24   and about 34 months for inter partes reexaminations. Such a notice is the effective end of
25   substantive prosecution and is the earliest date that the parties can know with some certainty
26   what claim scope, if any, will survive the reexamination proceeding.
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     GOOGLE’S STATEMENT IN RESPONSE TO THE COURT’S                                   CIVIL ACTION No. CV 10-03561
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 1           As discussed above, cancelled claims cannot be infringed and past damages are
 2   eliminated for amended claims. 35 U.S.C. §§ 307(b), 252; Seattle Box Co., Inc. v. Indust.
 3   Crating & Packing, Inc., 731 F.2d 818, 830 (Fed. Cir. 1984). Ongoing damages may also be
 4   eliminated for products existing prior to the claim amendments under a theory of equitable
 5   intervening rights. Seattle Box, 731 F.2d at 830. All but one patent asserted by Oracle have
 6   limited lives, expiring within 6-7 years of today for the most part. As a result, the pending
 7   reexaminations may have a significant impact on the value of the case to Oracle and may well
 8   moot all claims of infringement against the accused instrumentalities, or dramatically impact the
 9   chance for settlement..
10   III.    When Will the Ex Parte Reexaminations be Completed
11           The Court specifically inquired into the duration of the pending ex parte reexaminations.
12   The average pendency of ex parte reexaminations is just over 30 months, which is about 6
13   months shorter than the average pendency of inter partes reexaminations. (This timeframe
14   reflects additional administrative work after the notice of intent to issue a reexamination
15   certificate discussed above.) Thus, by the time the two inter partes reexaminations complete, all
16   of the ex parte reexaminations should have also completed. The overall pendency time for each
17   ex parte reexamination may be longer if additional reexaminations are filed for those patents,
18   e.g., by other entities.
19   IV.     Copyright claims
20           Narrowing of the copyright claims need not be addressed by the Court at this time. The
21   copyright issues are ripe for summary judgment and are best handled in that manner.
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     GOOGLE’S STATEMENT IN RESPONSE TO THE COURT’S                               CIVIL ACTION No. CV 10-03561
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     DATED: May 6, 2011
 2

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                                                     By: /s/ Scott T. Weingaertner___
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